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4
     Attorney for Defendant
5    CRESCENCIO DELGADO-EZQUIVEL
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8
                                             UNITED STATES DISTRICT COURT
9
                                            EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           No. 2:11-CR-0076-JAM
12
                               Plaintiff,                STIPULATION AND ORDER TO CONTINUE
13                                                       HEARING ON MOTION TO REDUCE
               v.                                        SENTENCE PURSUANT TO 18 U.S.C.
14                                                       § 3582(c)(2)
     CRESCENCIO DELGADO-EZQUIVEL,
15                                                       Date: April 11, 2017
                               Defendant.                Time: 9:15 a.m.
16                                                       Hon. John A. Mendez

17
18             Defendant, CRESCENCIO DELGADO-EZQUIVEL, by and through his attorney, John
19   Balazs, and plaintiff, UNITED STATES OF AMERICA, by and through its counsel, Assistant
20   U.S. Attorney Jason Hitt, hereby stipulate to continue the hearing on defendant’s §3582(c)(2)

21   from February 21, 2017 to April 11, 2017. Both counsel have a conflict with the current

22   February 21, 2017 hearing date and request that the matter be continued to April 11, 2017.

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     Stipulation and Order Re: Sentence Reduction          1
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1    Dated: February 14, 2017                              Dated: February 14, 2017
2
     BENJAMIN B. WAGNER
3    United States Attorney
4
      /s/ Jason Hitt                                        /s/John Balazs
5    JASON HITT                                            JOHN BALAZS
     Assistant U.S. Attorney
6
     Attorney for Plaintiff                                Attorney for Defendant
7    UNITED STATES OF AMERICA                              CRESCENCIO DELGADO-EZQUIVEL
8
9                                                         ORDER
10             IT IS SO ORDERED.
11   Dated: 2/14/2017
12                                                  /s/ John A. Mendez____________
                                                    HON. JOHN A. MENDEZ
13                                                  United States District Court Judge
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     Stipulation and Order Re: Sentence Reduction             2
